            Case 1:21-cr-20529-DPG Document 18 Entered on FLSD Docket 10/22/2021 Page 1 ofMC
                                                                                           5
                                                                           '
                                                                                                            i
                                                                                                            Oct
                                                                                                            i 22, 2021
                                                                                                        t   .

                                                                               .




                                              UN ITED STATE S D ISTR IC T C OU RT
                                              SO UTH ERN D ISTR ICT OF FLO R IDA
                                  21-20529-CR-GAYLES/TORRES
                                        CASE N O .
                                                         18t@S@C*j542
                                                         18U.S.C.j982(a)(2)(B)
                                        '
.

                 UNITED STA TES OF AM ERICA
                          b
                         .
                 V.
             i


                 JESU S G ABRIEL RO DR IGU EZ,JR.,

                         Defendant.
    .
                                                               /                                            '.       1.



                                                5         INFOR M ATIO N

                         TheA cting United StatesAttorney chargesthat:                            '                       '

                         On or about Septem ber 16,2016,in M iam i-D ade County, in the Southern D istrict of

                 Florida,and elsew here,the defendant,

                                              JESUS G ARR IEL RO DR IG UEZ,q
                                                                           1R .,
                                                                                                            :
                 did k                                                                                      !
                      nowingly and intentionally enter and introduce into the comm erce ofthe Unitedjstates
        .                     '
                                                                   x                                   '.   1
                 im ported m erchandise,thatis,87,448 gram sofgold,by m eansofa fraudulentand false invoice,

                 declaration,and paper,and by m eans ofa false statem ent,written and verbal,and by m eans ofa

                 false and fraudulentpractice,and did m ake a false statem entin a declaration w ithoutreasonable

                 cause jo believethe truth ofsuch statem ent,and did procure the m aking ofsuch a false sàtem ent

!
                 astoamattermaterialtheretowithoutreasonablecauseiobelievethetruthofsuchstatement.
                                    .



                         A 1lin violation ofTitle 18,U nited StatesCode,Sections 542 and 2.
        .
                                                                                                            F
                                                    FORFEITURE AILE GA TIO N S
                                                                       ,
                                                                                                            i
                                                                                                            I
                                                                                                            1
                                                                                                            :i
                         1.       The allegations of this Inform ation are re-alleged and by this referencéI fully

                 incorporated herein forthe purpose ofalleging crim inalforfeitureto the United StatesofA m erica
Case 1:21-cr-20529-DPG Document 18 Entered on FLSD Docket 10/22/2021 Page 2 of 5




    of certain p'
                roperty ip which the defendant,JESUS GABRIEL RODRIGUEZ,JR.,has an
                                      l
    interest.

                             Upon convictipn of a violation of Title 18,United States Code,Section 542,the

    defendantshallforfeittotheUnitedStatesofAmerioa,pursuantto18U.S.C.j982(a)(2)(B),any
    property constituting,orderived from ,proceeds the defendantobtained directly or indirectly,as

    theresultofsuch violation.

               AllpursuanttoTitle18,UnitedStatesCode,Section982(a)(2)(B),andtheproceduresset
    forth in Title 2l,United States Code,Section 853,as m ade applicable by Title 18,United States

    Code,Section982(b)(1).
         '!           .'''
                                 ..                   4
                  .

                                                          <
          z.                 .                            m


    IlJ AN TON IO
    .                   ALEZ
    A CTING U NITED STATES ATTORN EY


                 Q
    W ALTER M .N                      IN
    ASSISTANT UNITED STATES ATTORNEY



    AN DREA GOLD B G
    A SSISTAN T UN ITED STA TES A TTORN EY
                Case 1:21-cr-20529-DPG Document 18 Entered on FLSD Docket 10/22/2021 Page 3 of 5
                                          UNITED STATESDISTRICT COIX
        '
                                          SOUTRERN DISTRICTOFFLORIDA                   j


                UM TED STATESOFAM ERICA                               CASE NO.
                V.
                                                                      C ERTIFICATE OF TR IAL ATTO RNEY*
                JESUS GABRIELRODRIGUEZ,JR.,                           s
                                                                       uperseding caseInformation:
                            Defendant.                    /
                  courtoivision:tselectone)                           Newdefendantts) N Yes I--INo
    '
                 I-
                  z-lMiami N Keywest N FTL                            Numberofnewdefendants
                 I'
                  --IWPB I--IFTP                                      Totalnumberofcounts
                     1.1havecarefully considered theallegationsoftheindictment,thenumberofdefendants,thenumberofprobable
                       witnessesand thelegalcom plexitiesofthelndictm ent/lnform ation attachedhereto.
                     2.1am aware thattheinformation supplied on thisstatementwillbereliedupon by theJudgesofthisCourtin
                       setting theircalendarsand scheduling crim inaltiialsunderthem andateoftheSpeedy TrialAct,
                       Title28 U.S.C.Section316l.
                     3.lnterpreter:(YesorNo) N0
                       Listlanguageand/ordialect
                     4. Thiscasew illtake 0 daysforthepartiestotry.
                     5.Pleasecheck appropriatecategory and typeofoffense listedbelow:
                           (Checkonlyone)                           (Checkonlyone)
            '
                      I 0to5days              (Z                   Petly             IN
                      11 6to1ûdays            (71                  Minor             E1
                      IIl 11to20days          171                  Misdemeanor       IZI
                      IV 21to60days           r                    Felony            Ed                            -
                      V 6ldaysandover         (71
                     6.HasthiscasepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
                        lfyes:Judge                                   CaseNo.
.                                                                                                              ;     '
                        (Attach copyofdispositiveorder)   '                                                    l
                        Hasacomplaintbeenfsledinthismatter? (YesorNo)Yes
                        Ifyes:MagistrateCmse No.21-mj-0316O-Reid
             j       ' Relatedm iscellaneousnum bers:             -
                                                                                                     .
                        Defendantts)infederalcustodyasof                                             .
                        Defendantts)instatecustodyasof
                        Rule20 from theDistrictof
                        lsthisapotentialdeathpenaltycase?(YesorNo) No
                     7. Doesthiscase originatefrom amatterpending intheCentralRegion oftheU.S.Attorney'sOffice priorto
                        August9,2013(M ag.JudgeAlicia0.Valle)?(YesorNo) No
                     8. Doesthiscase originatefrom amatterpendingin theNorthern Region oftheU.S.Attorney'sOffice priorto
                        August8,2014(Mag.JudgeShaniekM aynard?(YesorNo) No                                     ;                 '
                     9. Doesthiscase originatefrom amatterpending in theCentralRegionoftheU.S.Attorney'
                                                                                                      sOfficepriorto
                        October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) NO                                  .
                                                                                                               !
                                                                                                               !




                                                                                  W alterM .Norkin
                                                              .
                                                                                  AssistantUni
                                                                                             ted States Attorney
        '
                                                                                  CourtID No.     A5502189
            *penalt.ySheetts)attachi                                                                               REV 3/19/21
Case 1:21-cr-20529-DPG Document 18 Entered on FLSD Docket 10/22/2021 Page 4 of 5




                              U NITED STA TE S DISTRICT CO URT
                              SO U TH ER N DISTRICT OF FLO R IDA

                                        PEN ALTY SH EET
    DefendantjsN am e: 1
                       JESUS GA BR IEL R O DR IG UEZ ,JR .

    Case No:

    Count#:1

    Entry ofGoodsby M eansofFalse Statem ents

    Title 18,U nited States Code,Section 542

    *M ax.Penalties:2 Years'lm prisonm ent




    frR efers only to possible term ofincarceration,doesnotinclude possible lines,restitution,
               specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
 Case 1:21-cr-20529-DPG Document 18 Entered on FLSD Docket 10/22/2021 Page 5 of 5


AO 455(Rev.01/09)WaiverofanIndictment

                                U NITED STATES
                                             ID ISTRICT COURT
                                                    fOrthe
                                          Southern DistrictofFlorida

               United StatesofAmerica                 )
                           V.                         )     CaseNo.
              JESUS RODRIGUEZ,JR.,                    )
                                                      )
                                                      )
                                        W AW ER OF AN INDICTM ENT

       1understandthatIhavebeen accused ofoneormoreoffensespunishableby imprisonmentformorethan one
year. Iwasadvised in open courtofmy rightsand the natureoftheprôposedchargesagainstm e.

       Aherreceiving thisadvice,Iwaivemy rightto prosecution by indictmentand consentto prosecutibn by
information.                                              '




                                                                             Defendant'
                                                                                      ssi
                                                                                        gnature



                                                                        Signatureofdefendant'
                                                                                            sattorney

                                                                       Printednameofdefendant'sattorney


                                                                               Judge'
                                                                                    ssignature


                                                                         Judge'
                                                                              sprintednameand title
